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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85154 73203 00020 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147
Balance forward as of last invoice, dated: June 30, 2009 $2,536.65
Payments received since last invoice, last payment received - August 4, 2009 $1,860.23
Net balance forward $676.42
Re: Rhodes Homes Arizona LLC
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PII Update claims analysis 0.20 225.00 $45.00
07/23/09 MAM Draft notice of claim withdrawal Wright Stanish & 0.30 195.00 $58.50
Winclker Rhodes Homes Arizona claim.
07/23/09 PJ Prepare list of homeowner claimants fro Omni 0.40 225.00 $90.00
Task Code Total 0.90 $193.50
Financial Filings [B110]
07/21/09 PJJ Draft further amended schedules 0.50 225.00 $112.50
Task Code Total 0.50 $112.50
Total professional services: 1.40 $306.00
Summary:
Total professional services $306.00
Net current charges $306.00

Net balance forward $676.42
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Invoice number 85154 73203 00020 Page 2
Total balance now due $982.42
MAM Matteo, Mike A. 0.30 195.00 $58.50
PJJ Jeffries, Patricia J. 1.10 225.00 $247.50
1.40 $306.00
Task Code Summary
Hours Amount
co Claims Admin/Objections[B3 10] 0.90 $193.50
FF Financial Filings [B1 10] 0.50 $112.50
1.40 $306,00
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85173 73203 00021 JIS

Rhodes Homes

4730 South Fort Apache Road, Suite 300

Las Vegas, Nevada 89147
Balance forward as of last invoice, dated: June 30, 2009 $11,231.95
Payments received since last invoice, last payment received -- August 4, 2009 37,658.93
Net balance forward $3,573.02

Re: Rhodes Design and Development Corporation

Statement of Professional Services Rendered Through 07/31/2009

Hours Rate Amount
Bankruptcy Litigation [1.430]

07/01/09 SSC Email to G. Brown re Fulks settlement. 0.10 595.00 $59.50

07/01/09 SSC Telephone conference with E. Ransavage re Fulks. 0.10 595,00 $59.50

07/06/09 SSC Review and analysis re Fulks stipulation. 0.30 595.00 $178.50

07/20/09 GNB__ Review letter form Eric Ransavage regarding relief from 0.10 495.00 349.50
stay and email Shirley S, Cho regarding same.

07/20/09 SSC Review letter from E. Ransavage re lift stay. 0.10 595,00 $59.50

07/21/09 GNB Review proposed stipulation concerning relief from stay 0.10 495.00 $49.50
for Fulks settlement.

07/2109 SSC Review Fulks stipulation and correspondence with 0.30 $95.00 $178.50
company re same.

07/27/09 SSC Review Kitec fitting litigation and email T. Robinson re 0.30 595.00 $178.50
same.

07/28/09 SSC Teleconference with T. Robinson re Kitec stipulation. 0.50 595.00 $297.50

07/28/09 SSC — Email to Kitec counsel re letter. 0.10 595.00 $59.50

07/29/09 SSC — Email to Fulks counsel re stipulation. 0.20 595.00 $119.00

07/29/09 SSC — Email to Kitec counsel re stipulation. 0.20 595.00 $119.00

Task Code Total 2.40, ~~ $1,408.00

Claims Admin/Objections[B310]

07/06/09 PIJ Update claims analysis 0.20 225.00 $45.00
07/08/09 MAM __ Draft letter and notice of claim withdrawal to Mark Jerue. 0.40 195.00 $78.00
Case 09-14814-gwz

Invoice number 85173 73203 00021

07/08/09 MAM

07/23/09 MAM
07/2309 MAM
07/23/09 MAM

07/23/09 MAM
07/23/09 = PJJ

Draft letter and Notice of Claim Withdrawal to Peacock
Mountain Ranch Association.

Draft objection to claim of Mark Jerue.
Draft Order sustaining objection to Mark Jerue's claim.

Draft declaration in support of claim objection versus
Mark Jerue.

Draft Notice of hearing regarding Jerue claim objection.
Prepare list of homeowner claimants for Omni

Task Code Total

Operations [B210]

07/01/09 SSC

07/01/09 SSC
07/07/09 SSC
07/07/09 SSC
07/13/09 SSC
07/13/09 SSC
07/16/09 SSC

07/21/09 MAM

07/21/09 SSC

07/21/09 §=SSC
07/21/09 SSC

07/22/09 SSC
07/22/09 SSC
07/27/09 SSC

Correspond with potential Nevada counsel re state
contractor’s board.

Telephone conference with T. Robinson re same.

Review state contractors’ board letter and analysis re same.
Telephone conference with J. Schramm re: same.

Review letter from Nevada State Contractor's board.
Telephone conference with T. Robinson re same.

Review three letters from the Nevada State Contractors’
board re reporting requested.

Pacer research for Shirley S. Cho regarding approval of
settlement agreement with Nevada State Contractors
Board.

Teleconference with T. Robinson re state contractor's
board.

Correspondence with J. Schramm re same.

Review Woodside settlement re state contractor's board
and correspondence with the company re same.

Analysis re Nevada State Contractor's Board settlement.
Revise settlernent motion.

Teleconference with T. Robinson re Nevada State
Contractors’ Board.

Task Code Total

Total professional services:

Costs Advanced:
06/22/2009 cc Conference Call [E105] AT&T Conference Call, JIS
07/08/2009 RE (DOC 276 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 1 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (1 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY { 2 @0.10 PER PG)

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0.40

0.40
0.30
0.30

0.30
0.40

2.70

0.10

0.20
0.30
0,20
0.10
0.20
0.30

0.30

0.20

0.20
0.50

0.40
0.80
0.20

3.90

9.00

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Page 2

195.00 $78.00
195.00 $78.00
195.00 $58.50
195.00 $38.50
~ 195.00 $58.50
225.00 $90.00
$544.50
595.00 $59.50
$95.00 $119.00
595.00 $178.50
595.00 $59.50
§95.00 $59.50
595,00 $119.00
595.00 $178.50
195.00 $58.50
595.00 $119,00
595.00 $119.00
595,00 $297.50
595.00 $238.00
595.00 $476.00
595.00 $119.00
$2,200.50
$4,153.00
$4.79
$27.60
$0.10
$0.10
$0.20
Case 09-14814-gwz

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Invoice number 85173 73203 00021 Page 3
07/08/2009 = RE2 SCAN/COPY (2 @0.10 PER PG) $0.20
07/08/2009 RE2 SCAN/COPY ( 2 @0.10 PER PG) $0.20
07/08/2009 RE2 SCAN/COPY ( 2 @0.10 PER PG) $0,20
07/08/2009 RE2 SCAN/COPY ( 3 @0.10 PER PG) $0.30
07/09/2009 RE (CORRA 12 @0.10 PER PG) $1.20
07/24/2009 PAC 73203.00021 PACER Charges for 07-24-09 $5.44
07/24/2009 RE2 SCAN/COPY (5 @0.10 PER PG) $0.50
07/24/2009 RE2 SCAN/COPY (3 @0.10 PER PG) $0.30
07/24/2009 RE2 SCAN/COPY ( 5 @0.10 PER PG) $0.50
07/27/2009 PAC 73203.00021 PACER Charges for 07-27-09 $2.40
07/27/2009 RE2 SCAN/COPY (5 @0.10 PER PG) $0.50
07/27/2009 RE2 SCAN/COPY (3 @0.10 PER PG) $0.30
07/27/2009 RE2 SCAN/COPY (3 @0.10 PER PG) $0.30
07/28/2009 RE2 SCAN/COPY (3 @0.10 PER PG) $0.30
Total Expenses: $45.43
Summary:
Total professional services $4,153.00
Total expenses $45.43
Net current charges $4,198.43
Net balance forward $3,573.02
Total balance now due $7,771.45
GNB Brown, Gillian N. 0.20 495.00 $99.00
MAM Matteo, Mike A. 2.40 195.00 $468.00
PIS Jeffries, Patricia J. 0.60 225.00 $135.00
SSC Cho, Shirley S. 5.80 595.00 $3,451.00
9.00 $4,153.00
Task Code Summary
Hours Amount
BL Bankruptcy Litigation [L430] 2.40 $1,408.00
co Claims Admin/Objections[B3 10] 2.70 $544.50
OP Operations [B210] 3.90 $2,200.50
9.00 $4,153.00
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Invoice number 85173

73203 00021

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Conference Call [E105]

Pacer - Court Research
Reproduction Expense [E101]
Reproduction/ Scan Copy

Expense Code Summary

$4.79
$7.84
$28.80
$4.00

$45.43
07/06/09
07/07/09

07/23/09

07/28/09
07/29/09

07/30/09
07/30/09

07/30/09

07/30/09

07/31/09
07/31/09

07/31/09

Case 09-14814-gwz

PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard

11th Floor
Los Angeles, CA 90067

July 31, 2009

Invoice Number 85156 73203 00022

Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009

Payments received since last invoice, last payment received -- August 4, 2009
Net balance forward

Re: Rhodes Ranch General Partnership

Statement of Professional Services Rendered Through

Claims Admin/Objections(B310]

Py Update claims analysis

MAM Draft letter and corresponding notice of withdrawal to
Innova-Champion Discs regarding claim withdrawal.

PI Prepare list of homeowner claimants for Omni

Task Code Total
Stay Litigation [B140]

WD Research Elkhorn Springs relief from stay motion.

WD Emails with Robinson and Lee re Elkhorn Springs relief
from stay motion. .

WD Research re Elkhorn Springs relief from stay motion.

WD Emails with Robinson re Elkhorn Springs relief from stay
motion.

wD Analysis of proposed settlement agreement re Elkhorn
Springs relief from stay motion.

WD Telconference with litt re Elkhorn Springs relief from stay
motion.

WD Research re Elkhom Springs relief from stay motion.

WD Analysis of proposed settlement agreement re Elkhorn
Springs relief from stay motion.

WD Teleconference with Clifford re Elkhorn Springs relief

from stay motion.

07/31/2009

Hours

0.20
0.40

0.40

1.00

0.40
0.20

0.20
0.10

0.30

0.20

0.40
0.20

0.30

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$9,075.92

3994.50

$8,081.42

Rate Amount

225.00 $45.00
195.00 $78.00
225.00 $90.00
$213.00
495.00 $198.00
495.00 $99.00
495,00 $99.00
495.00 $49.50
495.00 $148.50
495,00 $99.00
495.00 $198.00
495.00 $99.00
495.00 $148.50
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Invoice number 85156 73203 00022 Page 2
Task Code Total 2.30 $1,138.50
Total professional services: 3.30 $1,351.50
Costs Advanced:
07/08/2009 —-RE2 SCAN/COPY ( 1 @0.10 PER PG) $0.10
Total Expenses: $0.10
Summary:
Total professional services $1,351.50
Total expenses $0.10
Net current charges $1,351.60
Net balance forward $8,081.42
Total balance now due $9,433.02
MAM Matteo, Mike A. 0.40 195.00 $78.00
PJJ Jeffries, Patricia J. 0.60 225.00 $135.00
WD Disse, Werner 2.30 495.00 $1,138.50
3.30 $1,351.50
Task Code Summary
Hours Amount
co Claims Admin/Objections[B310] 1.00 $213.00
SL Stay Litigation [B140] 2.30 $1,138.50
3,30 $1,351.50
Expense Code Summary
Reproduction/ Scan Copy $0.10

$0.10
07/06/09
07/07/09

07/07/09

07/07/09

07/07/09

07/07/09

07/07/09

07/07/09

07/07/09

07/07/09

07/07/09

07/07/09

07/23/09

Case 09-14814-gwz

PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard

11th Floor
Los Angeles, CA 90067

July 31, 2009

Invoice Number 85157 73203 00023

Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009

Payments received since last invoice, last payment received -- August 4, 2009
Net balance forward

Re: Rhodes Ranch Golf Country Club LLC

Statement of Professional Services Rendered Through

Claims Admin/Objections[B310}

PJ
MAM

MAM

MAM

MAM

MAM

MAM

MAM

MAM

Update claims analysis

Draft letter and notice of claim withdrawal to Acushnet
Company.

Draft letter and notice of claim withdrawal to Arizona Sun
Products, Inc.

Draft letter and notice of claim withdrawal to Clark County
Treasurer.

Draft letter and notice of claim withdrawal to Bridgestone
Golf, Inc.

Draft letter and notice of claim withdrawal to Cheyenne
Auto Parts.

Draft letter and notice of claim withdrawal to Clark County
Treasurer,

Draft letter and notice of claim withdrawal to Integrated
Business Systems.

Draft letter and notice of claim withdrawal to Par 3
Landscape & Maintenance.

Draft letter and notice of claim withdrawal to Professional
Golf Bar Services.

Draft letter and notice of claim withdrawal to Sports Turf
Trrigation.

Draft letter and notice of claim withdrawal to The CIT
Group/Commercial Services Inc.

Draft Order sustaining claim objection to Par 3 Landscape
claim.

07/31/2009

Hours

0.20
0.40

0.40

0.40

0.40

0.40

0.40

0.40

0.40

0.40

0.40

0.40

0.50

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$1,060.95

$726.75

$334.20
Rate Amount
225.00 $45.00
195.00 $78.00
195,00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $78.00
195.00 $97.50
Case 09-14814-gwz

Invoice number 85157

07/23/09 MAM

07/23/09 MAM
07/2309 MAM

07/23/09 MAM
07/23/09 MAM

07/23/09 MAM

07/2409 MAM
07/24/09 MAM

claim.
07/24/09 SSC Review and revise two non-debtor objections in Rhodes
Ranch Golf Course.
Task Code Total

Draft declaration in support of claims objection versus Par

73203 00023

3 Landscape.
Draft objection to claim of Par 3 Landscape.

Draft Notice of hearing regarding Debtors' Objection to

Par 3 Landscape claim.

Draft Debtors' claim objection versus The CIT Group.
Draft Notice of Hearing on Debtors’ Objection to The CIT

Group/Commercial Services.

Draft Order sustaining claim objection versus The CIT

Group.

Amend objection, declaration and Order to Par 3 claim.
Amend objection, declaration and Order to CIT Group

Total professional services:

Costs Advanced:

07/08/2009 RE (CORRA 64 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 1 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 1 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 1 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY (2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY ( 2 @0.10 PER PG)
07/08/2009 RE2 SCAN/COPY { 2 @0.10 PER PG)
07/23/2009 RE (CORR 6 @0.20 PER PG)
07/24/2009 RE2 SCAN/COPY (3 @0.10 PER PG)
07/24/2009 RE2 SCAN/COPY (5 @0.10 PER PG)
07/24/2009 RE2 SCAN/COPY (3 @0.10 PER PG)
07/24/2009 RE2 SCAN/COPY ( 3 @0.10 PER PG)
07/24/2009 RE2 SCAN/COPY (5 @0.10 PER PG)

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0.50

0.70
0.40

0.40
0.30

0.30

0.80
0.80

0.50

9.80

9.80

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195.00

195.00
195.00

195.00
195.00

195.00

195.00
195.00

595.00

Page 2

$97.50

$136.50
$78.00

$78.00
$58.50

$58.50

$156.00
$156.00

$297.50

$2,117.00

$2,117.00

$6.40
$0.20
$0.20
$0.20
$0.20
$0.20
$0.20
$0.20
$0.10
$0.10
$0.10
$0.20
$0.20
$0.20
$0.20
30.20
$0.20
$1.20
$0.30
$0.50
$0.30
$0.30
$0.50
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Invoice number 85157 73203 00023 Page 3
07/24/2009 RE2 SCANICOPY ( 3 @0.10 PER PG) $0.30
07/27/2009 RE2. SCAN/COPY (5 @0.10 PER PG) $0.50
07/27/2009 RE2 SCAN/COPY ( 1 @0.10 PER PG) $0.10
07/27/2009 ——-RE2 SCAN/COPY (3 @0.10 PER PG) $0.30
07/27/2009 RE2 SCAN/COPY ( 5 @0.10 PER PG) $0.50
07/27/2009 RE2 SCAN/COPY (1 @0.10 PER PG) $0.10
07/27/2009 RE2 SCAN/COPY (3 @0.10 PER PG) $0.30
07/28/2009 RE (DOC 1207 @0.10 PER PG) $120.70
Total Expenses: $135.20
Summary:
Total professional services $2,117.00
Total expenses $135.20
Net current charges $2,252.20
Net balance forward $334.20
Total balance now due $2,586.40
MAM Matteo, Mike A. 9.10 195.00 $1,774.50
PJJ Jeffries, Patricia J, 0.20 225.00 $45.00
ssc Cho, Shirley S. 0.50 595.00 $297.50
9.80 $2,117.00
Task Code Summary
Hours Amount
co Claims Admin/Objections[B310] 9.80 $2,117.00
9.80 $2,117.00
Expense Code Summary
Reproduction Expense [E101] $128.30

Reproduction/ Scan Copy

$6.90
$135.20
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85158 73203 00024 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009 $997.50
Payments received since last invoice, last payment received -- August 4, 2009 $707.63
Net balance forward $289,87
Re: Rhodes Realty Inc.
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PHT Update claims analysis 0.20 225.00 $45.00
Task Code Total 0.20 $45.00
Total professional services: 0.20 $45.00
Summary:
Total professional services $45.00
Net current charges $45.00
Net balance forward $289.87
Total balance now due $334.87
PIS Jeffries, Patricia J. 0.20 225.00 $45.00
0.20 $45.00
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Invoice number 85158 73203 00024 Page 2
Task Code Summary
Hours Amount
0.20 $45.00

ca Claims Admin/Objections[B310]
0.20 $45.00
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85159 73203 00025 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147
Balance forward as of last invoice, dated: June 30, 2009 $1,424.60
Payments received since last invoice, last payment received -- August 4, 2009 $760.95
Net balance forward $663.65
Re: The Rhodes Companies LLC
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PJ Update claims analysis . 0.20 225.00 $45.00
07/07/09 MAM Draft letter and notice of claim withdrawal to Herminia 0.40 195.00 $78.00
Scannicchio.
07/07/09 MAM Draft letter and notice of claim withdrawal to The TWT 0.46 195.00 $78.00
Group.
Task Code Total 1.00 $201.00
Total professional services: 1.00 $201.00
Costs Advanced:
07/08/2009 RE2 SCAN/COPY ( 1 @0.10 PER PG) $0.10
' 07/08/2009 RE2 SCAN/COPY ( 1 @0.10 PER PG) $0.10
Total Expenses: $0.20
Summary:
Total professional services $201.00
Total expenses $0.20

Net current charges $201.20
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Invoice number 85159 73203 00025 Page 2
Net balance forward $663.65
Total balance now due $864.85
MAM Matteo, Mike A. 0.80 195.00 $156.00
PJ Jeffries, Patricia J. 0.20 225.00 $45.00
1.00 $201.00
Task Code Summary
Hours Amount
co Claims Admin/Objections[B3 10} 1.00 $201,00
1,00 $201.00
Expense Code Summary
Reproduction/ Scan Copy $0.20

$0.20
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85160 73203 00026 JIS

Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009 $396, 37
Payments received since last invoice, last payment received -- August 4, 2009 $210.38
Net balance forward $185.99
Re: Six Feathers Holdings LLC
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PII Update claims analysis 0.20 225.00 $45.00
Task Code Total 0.20 $45.00
Total professional services: 0.20 $45.00
Summary:
Total professional services $43.00
Net current charges $45.00
Net balance forward $185.99
Total balance now due $230.99
PI Jeffries, Patricia J. 0.20 225.00 $45.00
0.20 $45.00

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Invoice number 85160 73203 00026 Page 2
Task Code Summary
Hours Amount
CO Claims Admin/Objections[B310] 0.20 $45.00

0.20 $45.00
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85161 73203 00027 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147
Balance forward as of last invoice, dated: June 30, 2009 $357.22
Payments received since last invoice, last payment received -- August 4, 2009 $172.13
Net balance forward $185.09
Re: Tick LP
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PJJ Update claims analysis 0.10 225.00 $22.50
Task Code Total 0.10 $22.50
Total professional services: 0.10 $22.50
Summary:
Total professional services $22.50
Net current charges $22.50
Net balance forward $185.09
Total balance now due $207.59
PYJ Jeffries, Patricia J. 0.10 225,00 $22.50

0.10 $22.50
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Invoice number 85161 73203 00027 Page 2
Task Code Summary
Hours Amount
co Claims Admin/Objections[B3 10] 0.10 $22.50

0.10 $22.50
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85162 73203 00028 JIS

Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009 $1,022.92
Payments received since last invoice, last payment received -- August 4, 2009 $726.75
Net balance forward $296.17

Re: Tribes Holdings LLC

Statement of Professional Services Rendered Through 07/31/2009

Hours Rate Amount
Claims Admin/Objections[B310]

07/06/09 PJJ Update claims analysis 0.10 225,00 $22.50
Task Code Total 0.10 $22.50
Total professional services: 0.10 $22.50
Summary:
Total professional services $22.50
Net current charges $22.50
Net balance forward $296.17
Total balance now due $318.67
PJ Jeffries, Patricia J. 0.10 225.00 $22.50

0.10 $22,50
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Invoice number 85162 73203 00028 Page 2
Task Code Summary
Hours Amount
co Claims Admin/Objections[B310] 0.10 $22.50

0.10 $22.50
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July 31, 2009
Invoice Number 85163 73203 00029 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147
Balance forward as of last invoice, dated: June 30, 2009 $1352.77
Payments received since last invoice, last payment received -- August 4, 2009 $994.50
Net balance forward $358.27
Re: Tuscany Acquisitions LLC
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 = PJJ Update claims analysis 0.20 225.00 345.00
07/23/09 PYI Prepare list of homeowner claimants for Omni 0.40 225.00 $90.00
07/28/09 PJJ Revise homeowner listing 0.20 225,00 $45.00
Task Code Total 0.80 $180.00
Financial Filings [B110]
07/21/09 PY Draft further amended schedules 0.50 225.00 $112.50
Task Code Total 0.50 $112.50
Total professional services: 1.30 $292.50
Summary:
Total professional services $292.50
Net current charges $292.50

Net balance forward $358.27
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Invoice number 85163 73203 00029 Page 2
Total balance now due $650.77
PU Jeffries, Patricia J. 1.30 225,00 $292.50
1,30 $292.50
Task Code Summary
Hours Amount
CO Claims Admin/Objections[B310] 0.80 $180,00
FF Financial Filings [B110] 0.50 $112.50
1.30 $292.50
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10100 Santa Monica Boulevard
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Los Angeles, CA 90067

July 31, 2009
Invoice Number 85164 73203 00030 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147
Balance forward as of last invoice, dated: June 30, 2009 $1,018.50
Payments received since last invoice, last payment received -- August 4, 2009 $726.75
Net balance forward $291.75
Re: Tuscany Acquisitions If LLC
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PIJ Update claims analysis 0.20 225.00 $45.00
07/23/09 PJ Prepare list of homeowner claimants for Omni 0.40 225.00 $90.00
07/28/09 PJJ Revise homeowner listing 0.20 225.00 $45.00
Task Code Total 0.80 $180.00
Total professional services: 0.80 $180.00
Summary:
Total professional services $180.00
Net current charges $180.00
Net balance forward $291.75
Total balance now due $471.75
PI Jeffries, Patricia J. 0.80 225.00 $180.00

0.80 $180.00
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Invoice number 85164 73203 00030 Page 2
Task Code Summary
Hours Amount
co Claims Admin/Objections[B3 10] 0.80 $180.00

0.80 $180.00
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85165 73203 00031 JIS

Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009 $1,111.42
Payments received since last invoice, last payment received -- August 4, 2009 $803.25
Net balance forward $308.17

Re: Tuscany Acquisitions IIT LLC

Statement of Professional Services Rendered Through 07/31/2009

Hours Rate Amount
Claims Admin/Objections[B310]

07/06/09 PJJ Update claims analysis 0.20 225.00 $45.00
07/23/09 PIY Prepare list of homeowner claimants for Omni 0.40 225.00 $90.00
07/28/09 PJJ Revise homeowner listing 0.20 225,00 $45.00
Task Code Total 0.80 $180.00
Total professional services: 0.80 $180.00
Summary:
Total professional services $180.00
Net current charges $180.00
Net balance forward $308.17
Total balance now due $488.17
PJJ Jeffries, Patricia J. 0.80 225,00 $180.00

0.80 $180.00
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Invoice number 85165 73203 00031 Page 2
Task Code Summary
Hours Amount
co Claims Admin/Objections[B310] 0.80 $180.00

0.80 ~~~ $180.00
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
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Los Angeles, CA 90067

July 31, 2009
Invoice Number 85166 73203 00032 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147
Balance forward as of last invoice, dated: June 30, 2009 $1,834.85
Payments received since last invoice, last payment received -- August 4, 2009 $1,410.58
Net balance forward $424.27
Re: Tuscany Acquisitions IV LLC
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 DGP Telephone conversation with Mr. Huygens and Ms. Cho re 0.40 675.00 $270.00
Tuscany IV lien claim
07/06/09 PJJ Update claims analysis 0.20 225.00 $45.00
07/07/09 DGP Review file and NV mechanic's lien law re Isaac Building 1.10 675.00 $742.50
claim (.8); prepare summary of issues (.3)
07/10/09 DGP Read and consider Isaac Building complaint to foreclose 0.40 675.00 $270.00
mechanic's lien on Tuscany IV (.2) ; prepare e-mail
summarizing review (.2)
07/23/09 PIJ Prepare list of homeowner claimants for Omni 0.40 225.00 $90.00
07/28/09 = PSI Revise homeowner listing 0.20 225.00 $45.00
Task Code Total 2.70 $1,462.50
Total professional services: 2.70 $1,462.50
Summary:
Total professional services $1,462.50
Net current charges $1,462.50
Net balance forward $424.27

Total balance now due $1,886.77
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Invoice number 85166 73203 00032 Page 2
DGP Parker, Daryl G. 1.90 675.00 $1,282.50
PJJ Jeffries, Patricia J. 0.80 225.00 $180.00

2.70 $1,462.50
Task Code Summary
Hours Amount
co Claims Admin/Objections[B310] 2.70 $1,462.50
2.70 $1,462.50
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11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85167 73203 00033 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009 $2,082.97
Payments received since last invoice, last payment received -- August 4, 2009 $803.25
Net balance forward $1,279.72
Re: Tuscany Golf Country Club LLC
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PIT Update claims analysis 0.20 225.00 $45.00
Task Code Total 0.20 $45.00
Total professional services: 0.20 $45.00
Summary:
Total professional services $45.00
Net current charges $45.00
Net balance forward $1,279.72
Total balance now due $1,324.72
PJJ Jeffries, Patricia J. 0.20 225.00 $45.00
0.20 $45.00
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Invoice number 85167 73203 00033 Page 2
Task Code Summary
Hours Amount
co Claims Admin/Objections[B3 10] 0.20 $45.00

0.20 $45.00
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PACHULSKI STANG ZIEHL & JONES LLP

10100 Santa Monica Boulevard
11th Floor
Los Angeles, CA 90067

July 31, 2009
Invoice Number 85168 73203 00034 JIS
Rhodes Homes
4730 South Fort Apache Road, Suite 300
Las Vegas, Nevada 89147

Balance forward as of last invoice, dated: June 30, 2009 $340.87
Payments received since last invoice, last payment received -- August 4, 2009 $172.03
Net balance forward $168.84
Re: Wallboard LP
Statement of Professional Services Rendered Through 07/31/2009
Hours Rate Amount
Claims Admin/Objections[B310]
07/06/09 PIS Update claims analysis 0.10 225.00 $22.50
Task Code Total 0.10 $22.50
Total professional services: 0.10 $22.50
Summary:
Total professional services $22.50
Net current charges $22.50
Net balance forward $168.84
Total balance now due $191.34
PJJ Jeffries, Patricia J. 0.10 225,00 $22.50
0.10 $22.50
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Invoice number 85168 73203 00034 Page 2
Task Code Summary
Hours Amount
co Claims Admin/Objections[B310] 0.10 $22.50
0.10 $22.50
